                   Case 2:11-cr-00190-KJM   Document
                                 IN THE UNITED STATES302  Filed 10/20/16
                                                      DISTRICT  COURT Page 1 of 1
                                             EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                Plaintiff,

                        v.                                CR NO: 2:11-CR-00190 MCE

MANUEL KEITH,

                               Defendant.


                                  APPLICATION FOR WRIT OF HABEAS CORPUS
               The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                           Ad Prosequendum                                    Ad Testificandum
Name of Detainee:      Manuel Keith, NYSID: 00070963L
Detained at            Otis Bantum Correctional Center
                       16-00 Hazen Street, East Elmhurst, NY 11370
Detainee is:           a.)     charged in this district by:  Indictment  Information  Complaint
                                 charging detainee with: Drug trafficking
                  or   b.)     a witness not otherwise available by ordinary process of the Court

Detainee will:         a.)       return to the custody of detaining facility upon termination of proceedings
                  or   b.)       be retained in federal custody until final disposition of federal charges, as a sentence
                                 is currently being served at the detaining facility

                        Appearance is necessary FORTHWITH in the Eastern District of California.

                       Signature:                               /s/Jason Hitt
                       Printed Name & Phone No:                 Jason Hitt                             916-554-2751
                       Attorney of Record for:                  United States of America

                                             WRIT OF HABEAS CORPUS
                              Ad Prosequendum                    Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal’s Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

Dated: October 19, 2016




Please provide the following, if known:
AKA(s) (if                                                                                 Male      Female
Booking or CDC #:       NYSID: 00070963L                                                   DOB:
Facility Address:       Otis Bantum Correctional Center                                    Race:
Facility Phone:         16-00 Hazen Street, East Elmhurst, NY                              FBI#:
Currently               718-546-6420

                                                   RETURN OF SERVICE
Executed on:
                                                              (signature)
